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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION
UNITED STATES OF AMERICA §
v. : CASE NO. 2:24-cr-00022-BR (1)
NICKOLAS O’BRIEN (1) :

WAIVER OF APPEARANCE AT ARRAIGNMENT AND
ENTRY OF NOT GUILTY PLEA

1. Pursuant to Rule 10(b) of the Federal Rules of Criminal Procedure, a defendant
need not be present for the arraignment if: (a) the defendant has been charged by indictment; (b)
the defendant, in a written waiver signed by both the defendant and defense counsel, has waived
appearance and has affirmed that the defendant received a copy of the indictment and that the plea
is not guilty; and (c) the court accepts the waiver. FED. R. CRIM.P. 10(b).

2. On April 2, 2024, undersigned counsel Benjamin D. Doyle (a) presented Defendant
Nickolas O’Brien with a copy of the indictment, Criminal No. 2:24-cr-00022-BR (1), (b) discussed
all charges and counts in the indictment, (c) confirmed that Defendant Nickolas O’Brien
understands the charges, counts, and maximum penalties under law, (d) explained the purposes of
arraignment and the right to be present for the arraignment, and (e) affirmed that Defendant
Nickolas O’Brien elects to waive the right to be present at arraignment and elects to enter a plea

of “not guilty” to all charges and counts in the indictment.

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3. As evidenced by the signatures below, Defendant Nickolas O’Brien (a) AFFIRMS

that he received a copy of the indictment, Criminal No. 2:24-cr-00022-BR (1), (b) WAIVES the

right to be present at arraignment, and (c) ENTERS a plea of “not guilty” to all charges and counts

in the indictment, Criminal No. 2:24-cr-00022-BR (1).

/ /) chee ie, Lf Ma J Date: Lf io LY
Nickolas O’Brien
Defendant

~ ss. Lot Date: tft “2

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Attorney for Defendant Nickolas O’Brien

CERTIFICATE OF CONFERENCE

I hereby certify that I conferred with Assistant United States Attorney Anna Marie Bell

and thereby confirmed that the government is unopposed to Defendant Nickolas O’Brien waiving

his right to be present at arraignment and Defendant Nickolas O’Brien entering a plea of “not

guilty” via the form contained herein.

Benjamin’ D. Doyle, “SBNS4080865
Stockard, Johnston, Brown, -Netardus & Doyle, P.C.

1030 N. Western

Amarillo, Texas 79106

Attorney for Defendant Nickolas O’Brien

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CERTIFICATE OF SERVICE
I hereby certify that on April 3, 2024, I caused a copy of the foregoing document to be
delivered to the Clerk of Court, the United States Magistrate Judge Lee Ann Reno and Assistant

United States Attorney Anna Marie Bell.

A= “W
(> =.)
Benjamin (D. Doyle, SBN24080865
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Amarillo, Texas 79106
Attorney for Defendant Brandon Dwayne Burks

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